 Case 18-11840       Doc 44 Filed 07/24/18 Entered 07/24/18 13:57:06 Desc Main
                              Document     Page 1 of 5
                    IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF MASSACHUSETTS

In Re:
                                                        Case No. 18-11840-MSH
KAREN R. MERRITT,                                            (Chapter 13)
DEBTOR

  MOTION FOR RECONSIDERATION OF MOTION FOR EXPEDITED HEARING AND
              APPROVAL OF SHORTENED OBJECTION PERIOD

                          (Request for Expedited Determination)

         To the Honorable Melvin S. Hoffman, United States Bankruptcy Judge:

         NOW COMES PENSCO Trust Company Custodian, f/b/o James P. Tiernan IRA

(“Tiernan IRA”), and PENSCO Trust Company Custodian, f/b/o Richard J. Fagan (“Fagan

IRA”), secured creditors in the above-captioned bankruptcy case (collectively “the IRAs”),

and respectfully request this Honorable Court to reconsider its denial of the IRAs Motion

for Expedited Hearing Approval of Shortened Objection Period (“the Motion”) (See Docket

No. 43). The IRAs contend, most respectfully, that the initial decision was “manifestly

unjust” and that the Court should reconsider and allow the Motion. See Nunes v. Ashcroft,

348 F.3d 815, 815 (9th Cir. 2003).

         IN SUPPORT of this Motion, the IRAs state as follows:

         1.    In denying the Motion, the Court stated as follows:

               “THERE APPEARS TO BE NO CONNECTION BETWEEN THE RELIEF
               REQUESTED IN THE STAY RELIEF MOTION (NAMELY TO COMMENCE
               AND/OR CONTINUE FORECLOSURE AND EVICTION PROCEEDINGS)
               AND THE CONCERNS RAISED IN THIS MOTION.”

         2.    By way of this Motion, the IRAs reemphasize and underscore that there is

clearly a connection between the relief requested, i.e., the need to move up the hearing

date on the IRAs Motion for Relief from Automatic Stay and Co-Debtor Stay (“Motion for

Relief”) a mere two to three weeks, and the relief sought by the Motion for Relief.

         3.    Succinctly stated, the property which the IRAs seek relief from both
    Case 18-11840       Doc 44
                             Filed 07/24/18 Entered 07/24/18 13:57:06 Desc Main
                               Document       Page 2 of 5
automatic stay and co-debtor stay to foreclose upon is no longer owned by the Debtor

(emphasis added); instead, title has vested in the Town of Rehoboth only subject to an

interested party redeeming the title back into the name of the Debtor.

        4.      At the present time, the IRAs are incapable of conducting a foreclosure sale

on the mortgaged property even if the Debtor had not filed bankruptcy. To conduct a

foreclosure, title to the property must still be vested in the mortgagor, in this case, the

Debtor; otherwise, the mortgagee, in this case, the IRAs, have no ability to convey clear

and marketable title to a third party purchaser at a foreclosure sale.

        5.      As the IRAs mortgage did not require that real estate taxes be escrowed,

and the IRAs Custodian, PENSCO Trust Company either did not receive any notice of the

Land Court action which ultimately vested title in the Town of Rehoboth, or if it did, never

notified, the respective beneficiaries, the IRAs were unaware of the situation until the

proverbial eleventh hour and fifty-ninth minute.

        6.      The connection between seeking relief from stay and urgent time constraints

imposed to file a Petition to Vacate filed in the Land Court is that it would be manifestly

unjust to effectively require the IRAs to expend another approximately $85,000.00, i..e,

pay the Town of Rehoboth, before knowing with certainty whether relief from stay will be

granted 1; otherwise, the IRAs could be out another $85,000.00 on top of the

approximately $1,000,000.00 that the IRAs are collectively owed.

        7.      While the IRAs completely acknowledge and respect the Court’s need and

ability to manage its own docket, and that the Court is entitled to be presented with a

legitimate reason for any party to “cut the line” by having a motion hearing advanced from

its normal scheduled date, the IRAs contend that their exists very compelling


1
 It should be noted that the Debtor’s Chapter 13 Plan, coupled with the Debtor’s response to the Motion for
Relief, request that Relief from Stay not be granted, that the Court wait until the outcome of a purported
adversary proceeding, and then allow the Debtor to sell the subject property in an arm’s length transaction.
 Case 18-11840      Doc 44    Filed 07/24/18 Entered 07/24/18 13:57:06         Desc Main
                                Document     Page 3 of 5
circumstances to grant the relief requested.

       8.     Moving up the hearing date on the Motion for Relief would result in no

prejudice whatsoever to the Debtor; failing to do so on the other hand, could very well

result in enormous prejudice to the IRAs. Therefore, on balance, the prejudice to the IRAs

far outweighs any prejudice to the Debtor. Moreover, none of the other interested parties

have filed an objection to the Motion for Relief despite the fact that they have now had

approximately two weeks to do so.

                                   RELIEF REQUESTED

       9.     For the foregoing reasons, and those expressed in the Motion for Relief itself,

the IRAS respectfully request that the Court allow this Motion for Reconsideration.

Dated: July 24, 2018                          Respectfully submitted,
                                              The IRAS,
                                              By their Attorney,
                                              /s/ David M. Baker___________________
                                              David M. Baker, Esq.
                                              D. Baker Law Group, P.C.
                                              10 North Main Street
                                              Fall River, MA 02720
                                              (508) 674-3841
                                              B.B.O. #638042
 Case 18-11840         Doc 44  Filed 07/24/18 Entered 07/24/18 13:57:06            Desc Main
                                 Document     Page 4 of 5
                           UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MASSACHUSETTS
                                    EASTERN DIVISION

In Re:
                                                            Case No. 18-11840-MSH
KAREN R. MERRITT,                                                (Chapter 13)
DEBTOR

                                  CERTIFICATE OF SERVICE

         I, David M. Baker, Esq., attorney-of-record for PENSCO Trust Company Custodian,

f/b/o James P. Tiernan IRA (“Tiernan IRA”), and PENSCO Trust Company Custodian,

f/b/o Richard J. Fagan (“Fagan IRA”), secured creditors in the above-captioned

bankruptcy case, hereby certify that I served a copy of secured creditors’ Motion for

Reconsideration of Motion for Expedited Hearing and Approval of Shortened Objection

Period (“the Motion”) electronically through the Court’s CM/ECF system upon all

interested parties and upon the following parties:

Counsel for Debtor:
Constant S. Poholek, Jr., Esq.
30 Washington Street
Attleboro, MA 02703

Chapter 13 Trustee:
Carolyn Bankowski, Esq.
P.O. Box 8250
Boston, MA 02114

Acting U.S. Trustee:
John P. Fitzgerald
John. W. McCormack Post Office and Court House
5 Post Office Square, Suite 1000
Boston, MA 02109-3945

Counsel for Creditor Ned Stevens, Inc.:
Daniel E Burgoyne, Esq.
ROBERTS, CARROLL, FELDSTEIN & PEIRCE, INC.
Ten Weybosset Street, 8th Floor
Providence, RI 02903

         I further certify that I served a copy of the Motion via first class mail, postage
 Case 18-11840      Doc 44   Filed 07/24/18 Entered 07/24/18 13:57:06 Desc Main
                               Document     Page 5 of 5
prepaid upon the Debtor to 7 Brayton Woods, Rehoboth, MA 02769 and the Non-Filing

Co-Debtor, James M. Cronan, to 7 Brayton Woods, Rehoboth, MA 02769; I served a copy

of the Motion via certified mail, return receipt requested to the Internal Revenue Service,

c/o the United States Attorney for the District of Massachusetts, addressed to the “Civil

Process Clerk,” John Joseph Moakley United States Federal Courthouse, 1 Courthouse

Way, Suite 9200, Boston, MA 02210; I served a copy of the Motion via certified mail,

return receipt requested to the Massachusetts Department of Revenue, c/o Attorney

General Maura Healey, 1 Ashburton Place, Boston, MA 02108-1518 and to Thomas

Condon, Chief of the Litigation Bureau, P.O. Box 9550, 100 Cambridge Street, Boston,

MA 02114-9550; and I served a copy of the Motion via certified mail, return receipt

requested to the Town of Rehoboth, addressed to the Treasurer/Tax Collector, Cheryl A.

Gouveia, Rehoboth Town Hall, 148 Peck Street, Rehoboth, MA 02769; and I served a

copy of the Motion via certified mail, return receipt requested to Haddon Lincoln-Mercury,

Inc., c/o John B. Haddon, 125 Coolidge Avenue, Watertown, MA 02472

Dated: July 24, 2018                             /s/ David M. Baker
                                                 David M. Baker, Esq.
